Case 1:13-cv-03309-REB-KMT Document 90-3 Filed 10/06/14 USDC Colorado Page 1 of 4




   DISTRICT COURT, PARK COUNTY, COLORADO
   Court Address:
   P.O. Box 190, 300 Fourth Street, Fairplay, CO, 80440
                                                                           DATE FILED: December 3, 2013 2:08 PM
   Plaintiff(s) NATIONSTAR MORTGAGE LLC
                                                                           CASE NUMBER: 2013CV30104
   v.
   Defendant(s) MARTIN T WIRTH



                                                                                   COURT USE ONLY
                                                                          Case Number: 2013CV30104
                                                                          Division: B       Courtroom:

                                        Order: Order Re: Order Authorizing Sale

   The motion/proposed order attached hereto: GRANTED.




   Issue Date: 12/3/2013




   STEPHEN A GROOME
   District Court Judge




                                                                            3
                                                                                                         Page 1 of 1
Case 1:13-cv-03309-REB-KMT Document 90-3 Filed 10/06/14 USDC Colorado Page 2 of 4




    DISTRICT COURT, PARK COUNTY, COLORADO
    Court Address: 300 4th St., P.O. Box 190
                   Fairplay, CO 80440

    IN THE MATTER OF THE MOTION OF NATIONSTAR
    MORTGAGE LLC FOR AN ORDER AUTHORIZING                           ▲COURT USE ONLY▲
    THE PUBLIC TRUSTEE TO SELL CERTAIN REAL
    ESTATE UNDER A POWER OF SALE CONTAINED                          Case Number: 2013CV030104
    WITHIN A DEED OF TRUST

                                                                                             0 4
                                                                                     0     1
                                                                    Division: B
                                                                                 V 3
                                                                         3 C
                                                                       1
                                     ORDER AUTHORIZING SALE



                                                                2 0
                                                              -
          THE REVIEW AND HEARING IN THIS MATTER having been completed by the

                                r
                               e
   Court on December 2, 2013:


                            rd
           WHEREAS, Martin T. Wirth, Grantor(s) by Deed of Trust dated January 18, 2002,


                           O
   recorded January 29, 2002 at Reception No. 560414 in the records of the County of Park,


                         o
   Colorado, to secure to Mortgage Electronic Registration Systems, Inc., as nominee for

                        t
   Countrywide Home Loans, Inc. the payment of a Promissory Note of even date therewith for the

                      t
   principal sum of $138,000.00 as provided in said Deed of Trust, conveyed to the Park County

                     n
                   e
   Public Trustee, on the terms set forth in said Note and Deed of Trust, the following described
   real property (“Property”) situate in said County to-wit:


                h m
               c
   SEE EXHIBIT A ATTACHED HERETO AND INCORPORATED HEREIN BY


             a
   REFERENCE


          tt
         A
   WHICH HAS THE ADDRESS OF 36 Iris Drive Bailey, CO 80421-2316

           THE COURT FINDS that there is reasonable probability that: a default exists as alleged
   in the Motion in order to invoke the power of sale in said Deed of Trust; that the provisions of
   C.R.C.P. Rule 120 and the Servicemembers Civil Relief Act, as amended, have been complied
   with; that the venue in this action is proper; and that the order authorizing sale should be granted.

           IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that a sale of the
   Property by the Public Trustee in the above said County in the State of Colorado, under a power
   of sale, pursuant to statute and the provisions of that certain Deed of Trust described above, be
   and the same hereby is authorized by this Court.
           It is further ordered that a return of such sale shall be made to this Court for its approval.
Case 1:13-cv-03309-REB-KMT Document 90-3 Filed 10/06/14 USDC Colorado Page 3 of 4




         DONE this Second day of December, 2013


                                         BY THE COURT:



                                         Judge/Magistrate

                                                                           0 4
   Wirth / 13-03477
                                                                        01
                                                                    V 3
                                                              3 C
                                                        0   1
                                                    - 2
                              er
                           rd
                        o O
                     t t
                  e n
               h m
          t a c
        At
Case 1:13-cv-03309-REB-KMT Document 90-3 Filed 10/06/14 USDC Colorado Page 4 of 4




                                                                     0 4
                                                                  01
                                                              V 3
                                                        3 C
                                                  0   1
                                              - 2
                              er
                           rd
                        o O
                     t t
                  e n
               h m
          t a c
        At
